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RONALD M. BOWMAN, V.',f{,' Qj-' `;;~,_; 5¥{!»::;\{{,}3}_§3

Plaintiff,
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No. 03-2456 Ml/An

SHELBY COUNTY, et al.,

vvv`i`*`-IVV`¢'

Defendants.

 

ORDER OF DISMISSAL

 

Before the Court is the Motion to Dismiss for Failure to
Comply with Rules and the Court's Order and Failure to Prosecute
of Defendants Correctional Medical Services, Inc., Stipanuk, and
Shoemaker, filed July 18, 2005, and the Motion of Defendants
Shelby County and Blanchard to Dismiss Pursuant to Rule 41, filed
July 25, 2005. On December 22, 2003, the Court issued an order
requiring Plaintiff to “promptly notify the Clerk of any change
of address or whereabouts.” (Order, Dec. 22, 2003, (Docket No.
lO), at 13.) In addition, that order provided that “[f]ailure to
comply with these requirements, or any other order of the Court,
may result in this case being dismissed without further notice.”
(.FL)

On approximately July ll, 2005, counsel for Defendants
Correctional Medical Services, Inc., Stipanuk, and Shoemaker

received mail that was previously sent to Plaintiff at the

Th¥s document entered on the docket sheef£\fc;ompliance
with Hu!e 58 and/or ?Q(a) FHCP on ‘

 

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address Plaintiff provided to the Court. (Aff. of Stephen G.
Smith, attached as Ex. 2 to Mem. in Supp. of Mot. to Dismiss for
Fail. to Comply with Rules and the Court’s Order and Fail. to
Prosec. of Defs.' Corr. Med. Servs., Inc., Stipanuk, and
Shoemaker.) These documents were mailed to Plaintiff on June 27,
2005, and July l, 2005, respectively. (Id.) After calling the
phone number Plaintiff provided to counsel and the Court, counsel
Was told by a receptionist answering the phone that Plaintiff had
not resided at that address since approximately June 19, 2005.
(Id.) Counsel states that Plaintiff has failed to provide
counsel with his current address, make timely expert disclosures,
and attend his noticed deposition in June of 2005.1 (Id.) The
record reflects that Plaintiff has not notified the Clerk of his
current address.

All of the Defendants move to dismiss pursuant to Federal
Rule of Civil Procedure 4l(b). Rule 4l(b) provides:

For failure of the plaintiff to prosecute or to comply

with these rules or any order of court, a defendant may
move for dismissal of an action or of any claim against

 

1 Defendants Shelby County and Blanchard adopt and rely on the
motion to dismiss of Defendants Correctional Medical Services, Inc.,
Stipanuk, and Shoemaker. In addition, Defendants Shelby County and
Blanchard state that on July 12, 2005, their Motion for Summary
Judgment as to Supplemental Complaint was filed with the Court and
mailed to Plaintiff at the address he provided to the parties and the
Court. On July 21, 2005, Defendants state an envelope containing that
motion was returned with a stamp “Return to Sender Attempted Not
Known." (Unmarked Ex. To Mot. of Defs.’ Shelby Cty. and Blanchard to
Dismiss Pursuant to R. 41.) Defendants Shelby County and Blanchard
also state that Plaintiff has failed on two occasions to attend his
deposition.

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the defendant. Unless the court in its order for
dismissal otherwise specifies, a dismissal under this
subdivision and any dismissal not provided for in this
rule, other than a dismissal for lack of jurisdiction,
for improper venue, or for failure to join a party
under Rule 19, operates as an adjudication upon the
merits.

Fed. R. Civ. P. 4l(b). Plaintiff has failed to comply with the
requirements of the Court's December 22, 2003, order, as he has
not notified the Clerk of his current address. In addition,
Plaintiff's has neither made timely expert disclosures nor
attended his noticed deposition. Accordingly, pursuant to Rule

41(b), this case is DISMISSED.

So ORDERED this 1 day of August, 2005.

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JO P. MCCALLA
ITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 155 in
case 2:03-CV-02456 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

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1\/lemphis7 TN 38116

Honorable J on McCalla
US DISTRICT COURT

